 

7 . Case 2:1O-cV-02482-SHI\/|-ch Document 10 Filed 08/03/10 Pagelof€ Page|D 125

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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNES§M AUQ - 3 _`AH |[]: U l

 

 

WESTERN DIVISION
)
Johnn L. Bullock, )
Plaintili`, )
)
v. ) Case No. 2:10-cv-02482-SHl\/I-cgc
) Jury Demand
WORLD SAVlNGS BANK, FSB )
WACHOVIA MORTGAGE, FSB )
SR VICE PRESIDENT MARY C. REEDER )
THE CITY OF MEMPHIS, PAMELA POPE )
JOHNSON, MELISSA PALO, )
RESPONDENTS. )

 

PLAINTIFF JOHNN L. BULLOCK MOTION TO STRIKE DISMISSAL OF WORLD
SAVINGS BANK, FSB, WACHOVIA MORTGAGE, FSB, SR. VICE PRESIDENT MARY
C. REEDER,

 

Comes now the Plaintiff, Johnn L. Bullock, respectfully moves this Honorable Court to dismiss
the Respondents Motion to Dismiss, pursuant to Rule 12 (d) of the Federa.l Rules of Civil
Procedure, and respectftu submit this Memorandum of Law in Support or their Motion to Strike
the Dismissal of the Respondents

INTRODUCTION

The Plaintiii` avers the Respondents have moved to have claimants case dismissed pursuant to
FRCP Rulc 12 (b) (6) stating that claimant has failed to state a claim upon which relief can be
granted and that claimant’s claims of n'aud etc. . . are unspecified Claimant denies these erroneous
allegations of respondents and answers point for point with supporting statutes and case law
refuting Respondent’s Motion to Dismiss. Claimant asserts that standing case law provides for
Claimant to offer evidence & proof for his allegations. The instant question then is how is this to
occur procedurally? The Supreme Court has already ruled in Haines vs. Kemer 409 US 519
(1972) in regards to pro se litigants asserting claims that, “We conclude that he is egg led to an
QMMMM Haines vs. Kemer 409 US 519 (19722. In this case we have the
following scenario as stated from the ruling of the Supreme Court, “The District Court well

n ¢s' motion under Rule 12 6 o the Federal Rules o Civil Procedure to dismiss the

cogglaint for failure to state a claim ma which relief gould be ganted”, then , “The Court ot

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Case 2:1O-cV-O2482-SHI\/|-ch Document 10 Filed 08/03/10 Page 2 of 6 Page|D 126

AMaLs owed “ and afterwards the Supreme court overturned the decision of the Distn`ct Court

and the Appeals court and stated, “Ihe only issue now before us is M' ' ner's contention that
the District Court erred in dismissing his gro se cogglaint without allowing him to gresent
evidence on his claims. . .allegations such as those asserted bg getitioner, however in agfullz

leaded are su cient to call or the o ortun ' to o er s rtin evidence...we conclude that

he is entitled to an ogpgrtungg' to oaer groof. Ihe judgment is reversed Haines vs. Kemer 409
US 519 (1972)
Again the question is then raised how is this to occur. The Answer is in Rule 26 of the F ederal

Rules of Civil Procedure which allows for Discovery, and Depositional Testimony. This rule is a
part of the Courts Procedure in order to gather the necessary facts and evidence to commence a
trial by sharing the prerequisite discovery through depositional testimony. Respondents Claims that
Claimant’s allegations are not specific and unfounded. Claimant has raised the question of the
Bank Directors activities that in his analysis are in direct violation of federal statutes that govern
the financial institution. The Bank Directors listed as Respondents and agents of the lnstitution
have oaths that are registered with the United States Comptroller of Currency. This is a statutory
requirement according to The National Bank Act of 1864 9 Article 9 Statutes at Large Volume 13
stat 102 38th Congress. As the Claimant has this knowledge a request for a copy of that oath has
been made several times through the Freedom of Information Act (USC 5 section 552) through his
power of attorney Exhibits F, G, H, I, K and has been denied each time. The importance of
acquiring this information is that it specifically provides positive proof that the Bank Directors
have an Oath to The National Bank Act. The Bank Act specifically holds the Directors responsible
for any violations of its employees in carrying on business (National Bank Act Section 55 Volume
13 Stat 116 38th Congress). Section 53 of the Act holds the Directors personally liable for damages
created by the Financial lnstitution and its agents, employees etc. . .More specifically the Statute
limits these institutions to mortgages for 5 years maximum. Specifically in this case the mortgage
was made for more than 5 years. The lnstitution provided no consideration and no loan, and in fact
through Constructive Fraud monetized the Signature of the Claimant and gained a security interest
in his property. The Institution came to the table with no assets and pledged no assets in the
fraudulent loan. We have made several other claims herein of ii'aud, violation of federal rights and
actions under color of authority all of which require depositional testimony from the Directors who
face the shutdown of their Franchise by the Comptroller of the Currency for the United States of
America and jail time according to Statute if found Guilty. The National Bank Act although it has
sections that have been amended has never been repealed and applies to the above Financial
Institution.

AFFIDAVIT IN SUPPORT OF PETITIONERS ANSEERS TO RESPONDENTS MOTION

TO DISMISS

A) DENIED - The Pro Se Litigant is entitled to offer evidence and proof and cannot be barred
through accusations of failing to state a claim upon which relief can be granted Haines vs. Kemer
409 QS 519 (19722. We have already shown through the Supreme Court Case noted (which is the
Supreme Law of the Land) the following: The Supreme Court has already ruled in Haines vs.
Kemer 409 US 519 (1972) in regards to pro se litigants asserting claims that, “We conclude that

he is en@ d to an oggortung' to offer groo£” Haines vs. Kemer 409 US 519 f1972). In this

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Case 2:1O-cV-O2482-SHI\/|-ch Document 10 Filed 08/03/10 Page 3 of 6 Page|D 127

Court ganted res@ndents ' motion under Rule 12 Qf f6f of the F ederal Rules of Civil

Procedure to dismiss the co laint or ailure to state a claim n which relie could be
ganted”, then , “The Court of Ameals affirmedl “ and afterwards the Supreme court overturned
the decision of the District Court and the Appeals court and stated, “The only issue now before us

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evidence...we conclude that he is entitled to an o rtun ' to o er roo . The 'ud nt is

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reversed Haines vs. Kemer 109 US 519 f1972f Respondents claim that Claimant is making bare

legal conclusions that are unsupported by factual allegations is erroneous It is a fact that the
National Bank Act is standing law. It is a fact that the United States Statutes at Large hold legal
precedent over Title 12 Banks and Banking which is not even positive law. “United States Code
does not prevail over Statutes at Large when the two are inconsistent.” Steghens vs. Un_i_f’ ed States
(1943f 319 US 423. The factual allegations have been made. The F actual and specific allegation
Number: l) The Bank Directors listed as Respondents and agents of the Institution have oaths that
are registered with the United States Comptroller of Currency. This is a statutory requirement
according to 'Ihe National Bank Act of 1864 9 Article 9 Statutes at Large Volume 13 stat 102 38th
Congress. Ifthis is a fact of law and it is then all other parts of this Act which the claimant is using
(along with other law) to support his claims binds the directors and the Financial Institution to this
law that is de jure.

B) DENlED - The Plaintiii` alleges a breach of contract and once provided with the proper
documentation i.e. a true conformed copy, by defmition, this will provide the proof of a material
alteration. Once the true conformed copy is provided and or identified for my review it will
validate all claims of fraud under the National Banking Act, 12 USC Section 29 and will prove a
material alteration of the instrument in question. Remedy is offered pursuant to TCA 47-3-305 (a).

C) DENlED - Petitioners complaint alleges on page 5 number 2 . . ., “All of which are activities
aii`ecting, interstate and foreign commerce, in an attempt to enforce an illegal obligation. The
following case laws are offered in support that fraud destroyed everything contractually associated
with the original negotiable instrument . .”

D) DENIED - The issue here of whether the instrument was misread to me or whether there was
signature tampering and both exist. First misread here means that something false was being
explained when in actuality there was lack of disclosure or disclosure of false information and
there were both. lt was not disclosed to me that the period of the loan or line of credit was illegal
and that it should have been in conformity with federal statutes. This violation created a violation
of Tennessee Code Annotated 47-3-305 as well at Uniforrn Commercial Code 3-3-305 (a) part iii

“F mud that induced the obligor to sign the instrument with neither knowledge nor reasonable
ongtunifz to learn of its charactgr or its essential terms The conformed copy and transaction
then became illegal as stated in my petition page 8 number 17 which states, “The
Plaintiii`/Petitioner avers due to the fraudulent nature of the origm' al commercial contractual
@nveyance Exhibit A and B, 30 year mortgage transaction and the fact the origi__n' al contract was

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Case 2:10-cv-02482-SH|\/|-ch Document 10 Filed 08/03/10 Page 4 of 6 Page|D 128

breached due to the Plaintiii`/Petitioner’s receipt of a non-conformed cop_y of this note and of this
security instrument at the time of endorsement (endorsement), April 25 , 2007”. . . .. The question

then would be raised is the note money or a loan? If it was a loan did the purchaser pay the vice
president of the Institution and if so where is the transaction and the record of such transaction If
it was a simple passing on of an obligation, the new assignee would need to buy the former interest
of the party if it was truly a loan, If that was done, how was it done in confomiity with the law? It
stands that the endorsements were a material alteration of the original contract and are apart of a
RICO scheme between all parties who are participating in illegal transactions or transactions
barred by federal statute 18 USC Section 1344.

E) DENIED - Under Tennessee Law, “the elements of fraud are: (1) an intentional
misrepresentation of a material fact, (2) knowledge of representation’s falsity, (3) an injury caused
by reasonable reliance on the representation, and (4) the requirement that the misrepresentation
involved a past or existing fact. Elements (1) It is a material fact the documents on file in the
Shelby County Registers OHice being used as conformed copies are not material conformed
copies, (2) the Respondents should be well aware of the definition of a conformed copy, Exhibit J
(3) the contractual breach in not receiving a true conformed copy, by definition is the injury
alleged that created the breach, (4) the fact that they have lost or misplaced this instrument gives
the petitioner a remedy against the enforcement of the obligation pursuant to TCA 47-3-305 (c).

F) DENIED - Proof of the violations alleged in the Petition under the National Banking Act, 12 U.
S. C. Section 29 will be aflinned and show violations under 18 USC 1961, 1962 once the
Petitioner receives a true conformed copy, by defmition. This will show a material alteration of
the instrument, converted into a bond and securitized without consideration offered to the Plaintifi`.

G) DENIED - Petitioner due to the breach of contract alleged in his petition has a claim of not
receiving a true conformed copy, by definition and since there is no original conformed copy to
ascertain for my records this fulfills the requirements under Tennessee Code Annotated 47-3-
305(c), which states, “...An obligor is not obligated to pay the instrument if the person seeking
enforcement of the instrument does not have the rights of a holder in due course and the obligor
proves that the instrument is a lost or stolen instrument The Petitioner has been unsuccessful at
securing a true conformed copy, by delinition, for his records and the one currently on file is not a
conformed copy, by definition and there are no records of any transfers or assignments in the
Shelby County Registers Ofiice giving the Respondents the authority to enforce the obligation

 

H) DENIED ~ Petitioner alleges the contractual obligation was both fraudulent and breached. The
breach provides a remedy for the Petitioner under the Tennessee Consumer Protections Act due to
the fact of the enforcement of an unenforceable contractual obligation breached by not receiving a
conformed copy, by definition The Respondents are using the non-conformed copy to enforce this

 

Case 2:10-cv-02482-SH|\/|-ch Document 10 Filed 08/03/10 Page 5 of 6 Page|D 129

debt obligation The Petitioner alleges a thirty year mortgage is in contravention to the National
Bank Act, 12 U. S. C. Section 29.

I) DENIED - The Respondents state, “The Open End Deed of Trust states in pertinent part:
Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party’s actions pursuant to
this Security Instrument or that alleges that the other party has breached any provision of, or ay
duty owed by reason of, this security Instrument, until such Borrower or Lender has notified the

other thy twith such notice given in compliance with Section 121 of such alleged brea§h and
afforded the other thy hereto a reasonable p§riod after giving of such notice to take corrective

action.” The Plaintiff` challenged the debt and received no answer. The validity of the debt
obligation was challenged and received by Wachovia Mortgage Corporation’s Registered Agent
via the United States Postal Service on November, 30, 2009. See Exhibits F, G, H, I and K. _TLe

Petitioner has asked for verification and if verified has promised to work out a reasonable
pament and or pay the debt in full. RemM Rguested by the Plaintiff/Petitionerl Page 8

pomf, 21. Petitioner was deceived at signing and was not given a true conformed copy, by
definition of the instalment as promised and agreed to under the contractual obligation And to
date has not received a true conformed copy by definition nor had any answers validating the
validity of the debt received by the registered agent on November 11, 2009. Exhibit J.

CON LUSION
WHEREFORE THE PETITIONER PRAYS,

 

 

l. I pray the Honorable Court require the Respondents be compelled to participate in
discovery and answer the interrogatives through depositional testimony according to FRCP
Rule 34 of the federal rules of civil procedure

2. I pray the Honorable Court require the Respondents to rebut these accusations point for
point with supporting law.

3. I pray the Honorable Court grants a jury trial in this matter to adjudicate the case based on
its merits (as requested in the Chancery Court filing).

4. I pray the Honorable Court grants that summary judgith be entered and my relief be
granted if Respondent fails to provide discovery pursuant to FRCP Rule 34 or fails to
answer this motion point for point in the proper format stating their personal knowledge of
the facts.

5. I pray the Honorable Court requires the Respondents to deliver the true conformed copy, by
definition of the instrument registered with the Department of 'l`reasury for inspection
and/or review to verify the debt obligation

Waattat

Johnn L. Bullock, Plaintiff
3336 Durford Wood Cove
Memphis, Tennessee [38128]

Tel: 901-386-1788

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Case 2:10-cv-02482-SH|\/|-ch Document 10 Filed 08/03/10 Page 6 of 6 Page|D 130

Certificate of Service

 

I, the Plaintifi`, Johnn L. Bullock, do hereby certify that on this 3rd day of August, 2010, a
copy of the foregoing Motion to Strike Dismissal of World Savings Bank, FSB, Wachovia
Mortgage, FSB, Senior Vice President Mary C Reeder, was electronically filed using the CM/ECF
system and served on the following via Registered U.S. Mail:

World Savings Bank, FSB, 4101 Wiseman Boulevard, San Antonio, TX 78251, To Wachovia
Mortgage, FSB located at 4101 Mseman Boulevard, San Antonio, TX 78251 and THE CITY OF
MEMPHIS, and their Agents Linebarger Goggan Blair & Sampson, LLP, One Commerce Square,
40 South Main Street, Suite 2250, Memphis, Tennessee 38103, C/O Pamela Pope Johnson and

Melissa Palo. winn il BMM

d Johnn L. Bullock, Plaimitr

Affidavit

I, Johnn L. Bullock being first duly sworn make oath that we have read the foregoing
complaint and that the facts stated therein are true and correct to the best of my knowledge,
information and belief and in sincerity and truth for causes mentioned in the complaint and that I
justly am entitled to the redress sought.

<(\),@lmit. PAM\

Swom to and Subscribed before me this 3 day of August, 2010

 

